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                                    UNITED STATES DISTRICT COURT
 1
                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
 2                                     SAN FRANCISCO DIVISION

 3                                                   )
      Pangea Legal Services, et al.,                 )
 4
                                                     )        Civil Action No. 3:20-cv-09253-JD
 5                      Plaintiffs,                  )
                                                     )        JOINT STIPULATION TO HOLD
 6    v.                                             )        CASES IN ABEYANCE
 7                                                   )
      U.S. Dep’t of Homeland Security, et al.,       )       Hearing Date:
 8                                                   )       Hearing Time:
                        Defendants.                  )
 9                                                   )
10                                                   )
      Immigration Equality, et al.,                  )
11                                                   )        Civil Action No. 3:20-cv-09258-JD
                        Plaintiffs,                  )
12                                                   )
13    v.                                             )
                                                     )
14    U.S. Dep’t of Homeland Security, et al.,       )
                                                     )
15                      Defendants.                  )
16                                                   )

17                                              STIPULATION
18            PLEASE TAKE NOTICE that the parties by and through their undersigned counsel hereby
19   stipulate to hold these cases, including the pending motion to reconsider, in abeyance pending
20   review of the Rule at issue in this case, Procedures for Asylum and Withholding of Removal;
21   Credible Fear and Reasonable Fear Review, 85 Fed. Reg. 80,274 (Dec. 11, 2020) (the “Final
22   Rule”), by the Departments of Justice and Homeland Security. In support of this Stipulation, the
23   parties state as follows:
24            1.        These cases involve an Administrative Procedure Act (“APA”) challenge to the
25   Final Rule.
26            2.        On January 8, 2021, the Court issued a preliminary injunction, enjoining the Final
27   Rule nationwide.
28            3.        On January 20, 2021, due to the change in administration, there was new leadership


     JOINT STIPULATION TO HOLD
     CASES IN ABEYANCE
     Nos. 3:20-cv-09253-JD & 3:20-cv-09258-JD
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 1   at the Departments of Justice and Homeland Security. Department leadership requests additional
 2   time so that new Department of Justice and Homeland Security officials have sufficient time to
 3   become familiar with the issues in these cases.
 4            4.        In addition, the Departments indicate that the Final Rule is under review.
 5            5.        Holding these cases, including Defendants’ motion to reconsider in the Pangea
 6   Legal Services case, in abeyance therefore will allow incoming Department leadership time to
 7   consider the issues in these cases and to review the Final Rule. There have been no previous
 8   extensions of time in these actions.
 9            6.        Should the Court so-order this Stipulation, the preliminary injunction of the Final
10   Rule will remain in force and Defendants will continue to adhere to this Court’s order enjoining
11   implementation, enforcement, or application of the Final Rule and any related policies or
12   procedures. The parties propose to submit a status report to the Court within 90 days, updating
13   the Court on the status of the Final Rule and policy changes or other developments, if any, that are
14   likely to materially impact these cases.
15   Respectfully submitted,
16   By:      /s/ Naomi Igra                          By:       /s/ Christina P. Greer
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21                                                              Counsel for Defendants
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25
     Counsel for Immigration Equality Plaintiffs                Dated: January 27, 2021
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